                                                                             THIS ORDER IS APPROVED.


                                                                             Dated: March 6, 2020




 2
                                                                             Brenda Moody Whinery, Chief Bankruptcy Judge
 3                                                                           _________________________________

 4

 5

 6                               THE UNITED STATES BANKRUPTCY COURT

 7                                     FOR THE DISTRICT OF ARIZONA
 8
                                                             CHAPTER 13
 9
     In re
10
     ANGEL YCE RODRIGUEZ                                     CASE NO. 2-19-BK-11914-BMW
11
                                                            STIPULATED ORDER CONFIRMING FIRST
12                                                          CHAPTER 13 PLAN
                     Debtor
13

14           The Chapter 13 First Plan having been properly noticed out to creditors and any objection to
     confirmation having been resolved,
15

16
             IT IS ORDERED confirming the First Plan ("Plan") of the Debtors as follows:
17

18           (A) INCOME SUBMITTED TO THE PLAN. Debtors shall submit the following amounts of
     future income to the Trustee for distribution under the Plan.
19

20
             (1) Future Earnings or Income. Debtors shall make the following monthly Plan payments:
21
                     Months           Amount
22                   1-60             $427

23           The payments are due on or before the 18th day of each month commencing October 18, 2019.
     Debtors are advised that when payments are remitted late, additional interest may accrue on secured debts
24
     which may result in a funding shortfall at the end of the Plan term. Any funding shortfall must be cured
25
     before the plan is deemed completed.
26

27                                                       - 1-
                                                                                               In Re: Rodrigue
28                                                                             Case No. 2-19-BK-11914-BM




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             The Debtors shall provide to the Trustee copies of their federal and state income tax returns,

 2   including all attachments, forms, schedules and statements, for post-petition years 2019 - 2023 within 14
     days of filing them.
 3

 4
             The Debtors shall provide, directly to the Trustee their net federal and state income tax refunds
 5   for the years 2019 through 2023, as supplements to the plan. In the event that other property is submitted,
 6   it shall be treated as supplemental payments.

 7
             (2) Other Property. None. In the event other property is submitted, it shall be treated as
 8
     supplemental payments.
 9

10           (B) DURATION. This Plan shall continue for 60 months from the first regular monthly payment
11   described in Paragraph (A)(l) above. If at any time before the end of the Plan period all claims are paid,
     then the Plan shall terminate. In no event will the term of the Plan be reduced to less than 36 months,
12
     exclusive of any property recovered by the Trustee, unless all allowed claims are paid in full.
13

14
             (C) CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified as
15   listed below. The Plan and this Order shall not constitute an informal proof of claim for any creditor. This

16   Order does not allow claims. Claims allowance is determined by§ 502 and the Federal Rules of
     Bankruptcy Procedure. The Trustee shall receive the percentage fee on the Plan payments pursuant to 28
17
     U.S.C. § 586(e), then the Trustee will pay secured creditors or allowed claims in the following order:
18

19           (1) Administrative expenses:
20               Attorney Fees. Tom McAvity, shall be allowed total compensation of$4,500. Counsel

21               received $49 prior to filing this case and will be paid $4,451 by the Chapter 13 Trustee.

22
             (2) Claims Secured by Real Property:
23
                 (a) U.S. Bank Home Mortgage, secured by a first deed of trust in the Debtor's residence in
24                  the amount of $130,714.67, shall be paid pre-petition arrears of$255.68 with 0% interest.
25                  Any post-petition mortgage fees and expenses shall be paid directly by the Debtor to the

26                  secured creditor. Regular post-petition payments will be made directly by the Debtor to

27                                                       -2-
                                                                                                In Re: Rodrigue
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                    the secured creditor.

 2
             (3) Claims Secured by Personal Property:
 3
                (a) Flagship Credit Acceptance, secured by a lien in a 2017 Kia Soul Plus, shall be paid a
 4
                   secured claim of$15,275.30 with 6.0% interest. The creditor will receive adequate
 5
                   protection payments of$150.00 per month. The balance of the debt shall be classified as
 6                 unsecured.

 7
             (4) Unsecured Priority Claims:
 8
                (a) None.
 9
             (5) Surrendered Property.
10               (a) None.
11           (6) Other Provisions:

12               (a) None.

13
              (7) Unsecured Nonpriority Claims. Claims allowance is determined by§ 502 and the Federal
14
                 Rules of Bankruptcy Procedure. Allowed unsecured claims shall be paid pro rata the balance
15               of the payments under the Plan and any unsecured debt balance remaining unpaid upon
16               completion of the Plan may be discharged as provided in 11 U.S.C. § 1328.

17
             (D) EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be the date of
18
     this Order. Property of the estate vests in Debtors upon confirmation, subject to the rights of the Trustee
19
     to assert a claim to any additional property of the estate pursuant to 11 U.S.C. § 1306.
20

21
                                             ORDER SIGNED ABOVE
22

23
     Approved as to Form and Content By:
24

25                              Russell Brown
     Russell Brown, Trustee     2020.03.05
26
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   3
         Tom McAvity
   4
         Attomey for Debtors

   5
         The Debtor certifies: All require.cl State and Federal Income tax returns have be.en filed.j No domestic
    (,   suppo1t obligation is ~     or. ir owed. such payments itn.: ct11Tent since the filing of the\ Petition.

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   28                                                                                 Case No. 2- I 9-J3K-1 I914-BM\




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